                                 Case 18-20331-LMI                  Doc         Filed 11/25/19            Page 1 of 12
Fill in this information to identify the case:

Debtor 1               Vivian Sanchez
Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:        Southern District of Florida
                                                                                    (State)
Case number              18-20331-LMI




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15/15
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

                            U.S. BANK TRUST NATIONAL ASSOCIATION, AS
Name of creditor:           TRUSTEE OF CHALET SERIES III TRUST                          Court claim no. (if known):           4-1
                                                                                        Date of Payment Change:
Last 4 digits of any number you use to                                                  Must be at least 21 days after date
identify the debtor's account:         XXXXXX9562                                       of this notice                            12/1/2019

                                                                                        New total payment:
                                                                                        Principal, interest, and escrow, if any        $ 1,223.05

Part 1:           Escrow Account Payment Adjustment


1     Will there be a change in the debtor's escrow account payment?
             No

             Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
             the basis for the change. If a statement is not attached, explain why:


             Current escrow payment: $         58.58                                    New escrow payment: $ 320.67


Part 2:           Mortgage Payment Adjustment


2     Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
             No

             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
             explain why:

             See attached Loan Modification

             Current interest rate:     2.00                 %                New interest rate:      3.00                        %

             Current principal and interest payment: $ 516.23                          New principal and interest payment:            $ 599.74


Part 3:           Other Payment Change


3     Will there be a change in the debtor's mortgage payment for a reason not listed above?
             No

             Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                      Reason for change:

                      Current mortgage payment:        $                                   New mortgage payment: $


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Debtor 1              Vivian                                      Sanchez                 Case number (if known) 18-20331-LMI
                      First Name           Middle Name            Last Name


Part 4:         Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.
Check the appropriate box.
           I am the creditor.

           I am the creditor's authorized agent.



I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.


X   /s/ Matthew Klein                                                                      Date     11/25/2019
    Signature


Print:              Matthew                              Klein                             Title    Attorney for Secured Creditor
                    First Name        Middle Name        Last Name

Company             Howard Law Group


Address             4755              Technology Way, Suite 104
                    Number            Street
                    Boca Raton                                    FL            33431
                    City                                     State            ZIP Code
Contact Phone 954-893-7874                                                                 Email    matthew@howardlaw.com




I HEREBY CERTIFY that on November 25, 2019, I electronically filed the foregoing with the Clerk of Court by using
the CM/ECF System, which will send a notice of electronic filing to all CM/ECF participants:

Robert Sanchez, Esq., 355 W. 49th Street, Hialeah, FL 33012

Nancy K. Neidich, Trustee, P.O. Box 279806, Miramar, FL 33027

Office of the United States Trustee, 51 SW 1st Avenue, Ste. 1204, Miami, FL 33130

and a true and correct copy was mailed to the non-CM/ECF participants:

Vivian Sanchez, 3581 SW 117th Terrace, Unit 5-303, Miami, FL 33175




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